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                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CARMEL CAPITAL, LLC,                          §               Case No.: _________________
                                              §
       Plaintiff,                             §
                                              §
v.                                            §
                                              §
                                              §               JURY TRIAL DEMANDED
IPM CONSULTING, LTD                           §
                                              §
       Defendant.                             §


             ORIGINAL COMPLAINT FOR COPYRIGHT INFRINGEMENT

       Plaintiff Carmel Capital, LLC (“Plaintiff” or “Carmel”), by and through its counsel, alleges

Copyright Infringement against Defendant IPM Consulting, Ltd. (“Defendant” or “IPM”), and

requests relief from this Court based on the following:

                                          THE PARTIES

       1.      Plaintiff Carmel Capital, LLC is a Texas limited liability company with its principal

place of business located at 2908 Windstone Court, Bedford, TX 76021.

       2.      Defendant IPM Consulting, Ltd. Is a domestic, for-profit corporation with its

principal place of business located at 6 E. Scott Street #2, Chicago, Illinois 60610. Service of

Process may be effectuated by serving IPM’s Registered Agent, Laura A Fisher, IPM Consulting,

Ltd., located at 6 E. Scott Street #2, Chicago, Illinois 60610.

                                 JURISDICTION AND VENUE

       3.      This is a suit for Copyright Infringement under the United States Copyright Act of

1976, 17 U.S.C. §101, et seq.
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        4.        This Court has jurisdiction over Plaintiff’s claims for Copyright Infringement

pursuant to 28 U.S.C. §§1331 and 1338(a).

        5.        Venue is proper in this Court pursuant to 28 U.S.C. §§1391(b)(2) and 1400(a).

                                           BACKGROUND

        6.        Carmel realleges paragraphs 1 through 5 as if fully set forth herein.

        7.        Carmel is the owner of U.S. Copyright No. VAu 1-041-373 (“Copyright”) entitled

Brian Harness Photography Collection 2010 Vol. III. A true and correct copy of the Copyright is

attached hereto as Exhibit A.

        8.        The named artist of the Copyright is Brian Harness (“Harness”). See id.

        9.        Because Mr. Harness’s income and livelihood as an independent, professional

photographer depends, in part, on his ability to control the use of his intellectual property, including

the photographs covered by the Copyright, Harness is diligent in obtaining Registered Copyrights

and enforcing those Copyrights against unlawful use, including the unlawful use by the Defendant

in this matter.

        10.       On October 1, 2020, Harness assigned the Copyright to Carmel. A true and correct

copy of the assignment is attached hereto as Exhibit B at ¶ 1.

        11.       Brian Harness is a professional photographer. Carmel Capital is a member of

Harness Land Services. Harness Land Services is wholly owned by Brian Harness.

        12.       A copy of two of the photographs, which were filed as part of the Copyright, are

depicted below:




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                                         ©Brian Harness 2010



                            DeanFoods0485




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                                       DeanFoods0544


       13.    In promotion of its business, Defendant, without permission from Harness or

Carmel, misappropriated these photographs and included the copyrighted photographs on its

website.

       14.    Upon information and belief, Defendant has owned or controlled the website,

www.ipmconsultingltd.com since at least 2011 and has last updated the page in 2019.

       15.    A true and correct copy of the screenshots of Defendant’s web page displaying

DeanFoods0485 and DeanFoods0544 is attached hereto as Exhibit C:




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       16.     The photographs noted above, remain on Defendant’s web page until sometime

after October 26, 2020.

       17.     Because Defendant had no permission to use the protected photographs, Defendant

is liable for direct Copyright Infringement.

                    COUNT 1 – DIRECT COPYRIGHT INFRINGEMENT

       18.     Carmel realleges paragraphs 1 through 17 as if set fully herein.

       19.     Carmel alleges Defendant is liable for direct Copyright Infringement pursuant to

17 U.S.C. 501(a).

       20.     Carmel has been damaged by Defendant’s actions.

                                 DEMAND FOR JURY TRIAL

       Pursuant to FED. R. CIV. P. 38 and the 7th amendment of the U.S. Constitution, a trial by

jury is hereby demanded.




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                                   DEMAND FOR RELIEF

   WHEREFORE, Plaintiff Carmel Capital, LLC demands that:

   a. Defendant be found liable for direct Copyright Infringement;

   b. Defendant be enjoined from reproducing, administering, displaying, or publishing

       Carmel’s copyrighted works;

   c. Defendant be ordered to pay statutory damages pursuant to 17 U.S.C. §504;

   d. Defendant pay Carmel’s reasonable attorney’s fees and costs of this action, pursuant to 17

       U.S.C. §505;

   e. Defendant pay pre-judgment and post-judgment interest on any damages awarded; and

   f. The Court award Plaintiff all other relief it deems justified.

   Further, Plaintiff Carmel Capital, LLC reserves all of its rights to elect alternative remedies,

including election of actual damages, as permitted by law.




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Dated: October 26, 2020

                                                   Respectfully submitted,

                                                   /s/ Glenn E. Janik
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